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 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                 __________  DistrictofofNew York
                                                                          __________

JANE DOE,                                                                )
                                                                         )
                                                                         )
                                                                         )
                             Plaintiff(s)
                                                                         )
                                                                         )
                                 v.                                        Civil Action No. 1:24-cv-8813
SEAN COMBS, DADDY’S HOUSE RECORDINGS INC., CE OPCO,                      )
LLC d/b/a COMBS GLOBAL f/k/a COMBS ENTERPRISES LLC, BAD                  )
BOY ENTERTAINMENT HOLDINGS, INC., BAD BOY                                )
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS HOLDINGS,                      )
INC., BAD BOY RECORDS LLC, BAD BOY ENTERTAINMENT LLC,                    )
BAD BOY PRODUCTIONS LLC, and ORGANIZATIONAL DOES 1-10,
 and INDIVIDUAL DOES 1-10,                                               )

                            Defendant(s)
                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) See addendum attached hereto regarding defendants.




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:
 Anthony G. Buzbee                 Andrew Van Arsdale                      Antigone Curis
 The Buzbee Law Firm               AVA  Law  Group                         Curis Law, PLLC
 J.P. Morgan Chase Tower           3667 Voltaire Street, Ste. 101          52 Duane Street, 7th Floor
 600 Travis, Suite 7500            San Diego, CA 02106                     New York, NY 10007
 Houston, Texas 77002
          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


 Date:             11/21/2024                                                                  s/ G. Pisarczyk
                                                                                        Signature of Clerk or Deputy Clerk
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         ADDENDUM TO REQUEST FOR ISSUANCE OF SUMMONS


1) Sean Combs
   Metropolitan Detention Center
   80 29th Street
   Brooklyn, New York 11232

2) Daddy's House Recordings Inc.
   c/o Corporation Service Company
   80 State Street
   Albany, NY 11207

3) CE OPCO, LLC d/b/a Combs Global f/k/a Combs Enterprises LLC
   c/o ERESIDENTAGENT, INC.
   1013 Centre Road, Suite 403S
   Wilmington, DE 19805

4) Bad Boy Entertainment Holdings, Inc.
   c/o Corporation Service Company
   80 State Street
   Albany, NY 12207

5) Bad Boy Productions Holdings, Inc.
   c/o Corporation Service Company
   80 State Street
   Albany, NY 12207

6) Bad Boy Books Holdings, Inc.
   c/o CE Trademark LLC
   1001 Wilshire Blvd., 1073
   Los Angeles, CA 90017

7) Bad Boy Records LLC
   c/o Corporation Service Company
   251 Little Falls Drive
   Wilmington, DE 19808

8) Bad Boy Entertainment LLC
   c/o Corporation Service Company
   80 State Street
   Albany, New York 12207
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9) Bad Boy Productions LLC
   c/o Corporation Service Company
   80 State Street
   Albany, New York 12207
